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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN


U.S. WATER SERVICES, INC. and ROY
JOHNSON,

                   Plaintiffs,

       v.                                           No. 3:13-cv-00864-jdp

NOVOZYMES A/S and NOVOZYMES
NORTH AMERICA, INC.,

                   Defendants.


  DECLARATION OF LAMARR BARNES IN SUPPORT OF PLAINTIFFS’ MOTION
   FOR PERMANENT INJUNCTIVE RELIEF AND AN ENHANCED ROYALTY ON
            NOVOZYMES’S WILLFUL POST-JUDGMENT SALES


       I, LaMarr Barnes, am the Chief Executive Officer of U.S. Water Services, Inc. (“U.S.

Water”). I make this declaration in support of Plaintiffs’ Motion for Permanent Injunctive Relief

and an Enhanced Royalty on Novozymes’s Willful Post-Judgment Sales.

       1.      Through Novozymes’s continuing infringement of U.S. Water’s patents (Nos.

8,415,137 and 8,609,399) and the ongoing availability of Phytaflow and other products

containing phytase in direct competition with U.S. Water’s pHytOUT product, U.S. Water

continues to suffer harm based upon price erosion, loss of goodwill, damage to reputation, and

loss of business opportunities.

       2.      U.S. Water continues to lose sales of its pHytOUT product to Novozymes.

Novozymes continues to undercut U.S. Water’s pHytOUT            prices in its sales of phytase-

containing products, including Phytaflow, for use in carrying out U.S. Water’s patented method.
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